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                                                           [PUBLISH]
                                 In the
                 United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                               No. 22-10963
                         ____________________

        UNITED STATES OF AMERICA,
        Ex Rel.,
                                                              Plaintiﬀ,
        BRUCE JACOBS,
        Relator,
                                                    Plaintiﬀ-Appellant,
        versus
        JP MORGAN CHASE BANK, N.A.,


                                                  Defendant-Appellee.
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        2                      Opinion of the Court                 22-10963

                             ____________________

                   Appeal from the United States District Court
                       for the Southern District of Florida
                      D.C. Docket No. 1:20-cv-20543-AMC
                            ____________________

        Before WILLIAM PRYOR, Chief Judge, and JILL PRYOR and BRASHER,
        Circuit Judges.
        BRASHER, Circuit Judge:
                This appeal requires us to enforce the False Claims Act’s
        public disclosure bar. The FCA’s public disclosure bar provides that
        a “court shall dismiss an [FCA] action or claim . . . if substantially
        the same allegations . . . as alleged in the action or claim were pub-
        licly disclosed . . . from the news media.” 31 U.S.C. § 3730(e)(4)(A).
        This prohibition does not apply if “the action is brought by the At-
        torney General or the person bringing the action is an original
        source of the information.” Id.               The district court dismissed Bruce Jacobs’s qui tam action
        against JP Morgan Chase Bank, N.A., under Federal Rule of Civil
        Procedure 12(b)(6). It did so for two reasons. First, it concluded
        that his amended complaint did not plead fraud with particularity
        as required by Federal Rule of Civil Procedure 9(b). Second, it con-
        cluded that the gravamen of his fraud claims had already been dis-
        closed on three blogs and that he was not an original source of that
        information. We need not address Rule 9 because, even if Jacobs
        pleaded fraud with sufficient particularity, we agree with the
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        22-10963               Opinion of the Court                          3

        district court that the FCA’s public disclosure bar independently
        forecloses this lawsuit. Therefore, we affirm the district court’s dis-
        missal of Jacobs’s amended complaint.
                                          I.

               Bruce Jacobs, a Florida foreclosure attorney, brought this qui
        tam action against JP Morgan Chase on behalf of the United States.
        Jacobs alleges that JP Morgan Chase violated the False Claims Act
        by forging mortgage loan promissory notes and submitting false
        reimbursement claims to Fannie Mae and Freddie Mac, govern-
        ment-sponsored enterprises, for loan servicing costs. JP Morgan
        Chase acquired these promissory notes from Washington Mutual
        in 2008 after it had collapsed and the FDIC had placed it into re-
        ceivership. Washington Mutual had previously sold the loans it
        originated to Fannie Mae and Freddie Mac, and JP Morgan Chase
        became Washington Mutual’s successor-in-interest and the new
        servicer of these loans.
               Jacobs alleges that Washington Mutual forgot to endorse
        every loan it originated, a violation of federal guidelines, which if
        discovered would have required it and its successor-in-interest JP
        Morgan Chase to repurchase the mortgages from Fannie and Fred-
        die or to remit make-whole payments. The lack of proper endorse-
        ment, Jacobs asserts, also would have prevented JP Morgan Chase
        from conveying good and marketable title to Fannie and Freddie
        in the event of foreclosure and from seeking reimbursement for
        loan servicing costs. According to Jacobs, JP Morgan Chase con-
        cocted a scheme to forge endorsements on millions of loans using
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        4                      Opinion of the Court                 22-10963

        signature stamps bearing the names of previous Washington Mu-
        tual employees—like Cynthia Riley—years after Washington Mu-
        tual’s collapse. Jacobs alleges that JP Morgan Chase, despite its
        knowing and willful noncompliance with federal guidelines, sub-
        mitted payment claims to the federal government totaling hun-
        dreds of millions of dollars for loan servicing costs it incurred on
        the Washington Mutual loans. He also alleges that JP Morgan
        Chase covered up its scheme by coaching witnesses and suborning
        perjury.
               In February 2020, Jacobs sued JP Morgan Chase for violating
        the False Claims Act. The district court dismissed that complaint
        without prejudice under Federal Rule of Civil Procedure 12(b)(6),
        concluding that Jacobs didn’t meet the heightened fraud pleading
        requirements of Federal Rule of Civil Procedure 9(b). The district
        court also flagged that Jacobs must properly plead that he was an
        original source of the allegations under the FCA’s public disclosure
        bar but didn’t rule on it. The district court gave Jacobs a final op-
        portunity to amend his complaint.
               In his amended complaint, Jacobs asserted three violations
        of the False Claims Act by JP Morgan Chase: (1) express false certi-
        fication under 31 U.S.C. § 3729(a)(1)(A)–(B); (2) implied false certi-
        fication under 31 U.S.C. § 3729(a)(1)(A)–(B); and (3) reverse false
        claim under 31 U.S.C. § 3729(a)(1)(G). His amended complaint de-
        scribes federal guidelines for government-sponsored enterprises
        and includes new exhibits of representative loans and payment
        claims. Jacobs’s amended complaint alleges that JP Morgan Chase
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        22-10963               Opinion of the Court                          5

        foreclosed on mortgages “secured by forged and falsely stamped
        notes, while concealing the fact that the endorsements were affixed
        by JPMC years after WaMu ceased to exist using rubber stamps of
        Cynthia Riley’s signature[] and others[’] [signatures].”
               This time, the district court dismissed the lawsuit with prej-
        udice under Rule 12(b)(6) on two grounds. First, the district court
        again concluded that Jacobs failed to state a claim because he failed
        to allege JP Morgan Chase’s fraud with sufficient particularity un-
        der Rule 9(b). Second, the district court concluded that the FCA’s
        public disclosure provision independently bars Jacobs’s lawsuit be-
        cause online blog articles from before the lawsuit allege that em-
        ployees would use Cynthia Riley’s and other Washington Mutual
        employees’ rubber stamps to fraudulently endorse the loan prom-
        issory notes.
               The district court took judicial notice of three specific online
        blog articles. One blog article published on January 21, 2014, was
        found on “[a] foreclosure information sharing site committed to
        saving homes from foreclosure.” The other two articles appeared
        in June 2015 and January 2020 on “MFI-Miami,” a website about
        mortgage fraud investigations. All three blog articles mentioned JP
        Morgan Chase’s alleged fraudulent stamping scheme and ques-
        tioned the validity of the endorsements on the Washington Mutual
        loans. The blog posts disclosed details related to Cynthia Riley—
        giving details about how she had left her employment with Wash-
        ington Mutual before a note was stamped, providing a photograph
        of one of her stamps, and calling the note endorsement fraudulent.
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        6                     Opinion of the Court                22-10963

        One of these blogs discussed how in 2012 during other litigation JP
        Morgan Chase “miraculously found the missing endorsed note”
        containing Cynthia Riley’s stamp even though Riley had left Wash-
        ington Mutual’s employment before the example mortgage
        closed—an allegation of fraud on the court. And before this lawsuit
        was filed, another one of these blogs stated that JP Morgan Chase
        was “stamping the[] Washington Mutual notes with the Cynthia
        Riley endorsement stamp between 2012 and 2014” as part of its
        foreclosure efforts.
               Based on the blog articles, the district court concluded that
        substantially the same information as the allegations in the com-
        plaint had been publicly disclosed in the news media before Ja-
        cobs’s lawsuit and concluded that Jacobs wasn’t an original source
        of the information, requiring dismissal under the FCA’s public dis-
        closure bar. Jacobs appealed.
                                        II.

                We review de novo a district court’s decision on a motion to
        dismiss and any questions of statutory interpretation, including the
        application of the FCA’s public disclosure bar. See United States ex
        rel. Osheroff v. Humana, Inc., 776 F.3d 805, 809 (11th Cir. 2015).
                                        III.

             The district court decided this appeal on two alternative
        grounds, but we need address only one. Even if Jacobs’s amended
        complaint pleads fraud with particularity under Federal Rule of
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        22-10963                Opinion of the Court                          7

        Civil Procedure 9(b), he cannot support an FCA claim because of
        that act’s public disclosure bar.
               “One of the FCA’s primary purposes is to encourage individ-
        uals knowing of government-related fraud to come forward with
        that information.” United States v. NEC Corp., 11 F.3d 136, 139 (11th
        Cir. 1993), as amended (Jan. 12, 1994) (citation omitted). It follows
        that a relator cannot bring an FCA claim with substantially the
        same allegations as “allegations that are already publicly disclosed”
        in the “news media” unless the relator is an original source of that
        information. United States ex rel. Bibby v. Mortg. Invs. Corp., 987 F.3d
        1340, 1353 (11th Cir. 2021) (citing 31 U.S.C. § 3730); see also 31
        U.S.C. § 3730(e)(4)(A). Without this public disclosure bar, “oppor-
        tunistic relators—with nothing new to contribute—could exploit
        the FCA’s qui tam provisions for their personal benefit.” Bibby, 987
        F.3d at 1353 (emphasis added) (citing United States ex rel. Springfield
        Terminal Ry. Co. v. Quinn, 14 F.3d 645, 649 (D.C. Cir. 1994)).
               To that end, the FCA provides that we “shall dismiss an
        [FCA] action or claim . . . , unless opposed by the Government, if
        substantially the same allegations or transactions as alleged in the
        action or claim were publicly disclosed . . . from the news media.”
        31 U.S.C. § 3730(e)(4)(A). This prohibition does not apply if “the
        action is brought by the Attorney General or the person bringing
        the action is an original source of the information.” Id. “For pur-
        poses of this paragraph, ‘original source’ means an individual who”
        was a whistleblower to the government of the information in the
        allegations before the public disclosure or “who has knowledge
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        8                       Opinion of the Court                    22-10963

        that is independent of and materially adds to the publicly disclosed
        allegations or transactions, and who has voluntarily provided the
        information to the Government before filing an action under this
        section.” Id. § 3730(e)(4)(B).
                The district court took judicial notice of three online blog
        articles that recount allegations about JP Morgan Chase’s deceptive
        use of Washington Mutual signature stamps to forge mortgage en-
        dorsements. Jacobs correctly does not contest the district court’s
        decision to take judicial notice of these websites at the motion to
        dismiss stage. See Osheroff, 776 F.3d at 811–16 (concluding that the
        district court could take judicial notice of news articles during the
        three-part public disclosure bar test at the motion to dismiss stage);
        see also id. at 811 n.4 (“[C]ourts may take judicial notice of docu-
        ments such as the newspaper articles at issue here for the limited
        purpose of determining which statements the documents contain
        (but not for determining the truth of those statements).”). He ar-
        gues only that they do not warrant dismissing his amended com-
        plaint under the public disclosure bar.
                We use a three-part test to determine whether the FCA’s
        public disclosure bar applies. See id. at 812 (citing Cooper v. Blue Cross
        &amp; Blue Shield of Fla., Inc., 19 F.3d 562, 565 n.4 (11th Cir. 1994)). We
        begin by asking whether “the allegations made by the plaintiff
        [have] been publicly disclosed.” Id. (quoting Cooper, 19 F.3d at 565
        n.4). If the answer is “yes,” we ask whether “the allegations in the
        complaint are ‘substantially the same’ as . . . allegations or transac-
        tions contained in public disclosures.” Id. (quoting 31 U.S.C.
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        22-10963               Opinion of the Court                         9

        § 3730(e)(4)). If the answer to that question is also “yes,” we ask
        whether “the plaintiff [is] an ‘original source’ of that information.”
        Id. (quoting Cooper, 19 F.3d at 565 n.4).
              We address each part of our test in turn.
                                         A.

               First, we must determine whether the three blogs “publicly
        disclosed” allegations “from the news media” prior to this lawsuit.
        31 U.S.C. § 3730(e)(4)(A); see also Osheroff, 776 F.3d at 812. There
        are two issues here. The first issue is one of timing—whether these
        blog posts were publicly disclosed before the suit. The second issue
        is whether these blog posts count as “news media” under the stat-
        ute.
               The timing issue is easily resolved. One blog article was pub-
        lished on January 21, 2014, on “[a] foreclosure information sharing
        site committed to saving homes from foreclosure.” The other two
        articles were published in June 2015 and January 2020 on “MFI-
        Miami,” a website about mortgage fraud investigations. It is undis-
        puted that all three articles were publicly available online before
        Jacobs filed his initial complaint in February 2020.
               The second issue is more complicated. Jacobs argues that
        these articles do not qualify as “news media” under the plain and
        ordinary meaning of that term. But Jacobs’s argument is incon-
        sistent with our precedent. We have held that the term “news me-
        dia” in section 3730(e)(4)(A) “has ‘a broad[] sweep.’” Osheroff, 776
        F.3d at 813 (alteration in original) (quoting Graham Cnty. Soil &amp;
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        10                       Opinion of the Court                    22-10963

        Water Conservation Dist. v. United States ex rel. Wilson, 559 U.S. 280,
        290 (2010)) (citing Schindler Elevator Corp. v. United States ex rel. Kirk,
        563 U.S. 401, 408 (2011)). And we have specifically concluded that
        “publicly available websites . . . intended to disseminate infor-
        mation . . . qualify as news media for purposes of the public disclo-
        sure provision.” See id.                Jacobs argues that our statements in Osheroff about publicly
        available websites are dicta. We disagree. In Osheroff, the plaintiff’s
        complaint “allege[d] that [] [several health] clinics offered [] services
        without regard for medical purpose or financial need and that the
        value of the services is more than nominal”—an alleged violation
        of federal law. Id. at 808. The defendants, including three health
        clinics, submitted public pages of the clinics’ websites with infor-
        mation about the clinics’ free programs to establish that the infor-
        mation was publicly available in the “news media” before the suit.
        See id. at 807–08, 813. We held that “publicly available websites . . .
        intended to disseminate information” are “news media” under the
        FCA. Id. at 813. This statement was not dicta because it was neces-
        sary to our decision in Osheroff in step one of our test: we had to
        decide whether the company website in Osheroff counted as “news
        media,” and we answered that question in the affirmative.
               Finally, Jacobs argues that the company websites in Osheroff
        are distinguishable from the blogs in this case because these blogs
        are merely individual-run accounts that broadcast the personal
        views of their authors. Again, we disagree. To be sure, Jacobs is
        correct that we did not hold in Osheroff that all websites are “news
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        22-10963               Opinion of the Court                         11

        media.” But Jacobs’s argument still fails because we held in Osheroff
        that “news media” under the FCA isn’t limited to traditional news
        reporting methods—the key question is whether a website is “pub-
        licly available” and “intended to disseminate information” to the
        public. Id. Under that standard, the blogs at issue here are just as
        clearly “news media” as the company websites we addressed in
        Osheroff. These blogs—no matter their precise size or sweep—are
        publicly available websites that bill themselves as disseminating
        foreclosure-related and mortgage-related information to the pub-
        lic. Because there is nothing private or personal about these blogs,
        we need not address whether the term “news media” under the
        FCA covers a private or personal social media page.
                In short, we conclude that the blog articles “qualify as news
        media” under the FCA’s public disclosure bar and had been “pub-
        licly disclosed” before Jacobs’s suit. Id. at 813–14.
                                          B.

                Second, because we conclude that these blogs publicly dis-
        closed their allegations in the news media, we next must ask
        whether “the allegations in the complaint are ‘substantially the
        same’ as . . . allegations or transactions contained in public disclo-
        sures.” Id. at 812 (quoting 31 U.S.C. § 3730(e)(4)). This part of the
        test is “a quick trigger to get to the more exacting original source
        inquiry.” Id. at 814 (quoting Cooper, 19 F.3d at 568 n.10). “[S]ignifi-
        cant overlap between [the plaintiff]’s allegations and the public dis-
        closures is sufficient to show that the disclosed information forms
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        12                      Opinion of the Court                  22-10963

        the basis of th[e] lawsuit and is substantially similar to the allega-
        tions in the complaint.” Id.                Jacobs contends that his allegations are not substantially the
        same as the ones in the blog articles because they are not identical.
        The argument is that because “substantially” means “the essentials
        of something” and because “same” means “identical,” “substan-
        tially the same” means “identical.” That argument fails as a matter
        of logic and because it disregards the FCA’s plain text and our prec-
        edent. We have explained that “substantially the same” does not
        mean identical, as Jacobs argues, but “significant overlap.” Id. In this
        Circuit, “[t]he language of our laws is the law.” CBS Inc. v. Prime-
        Time 24 Joint Venture, 245 F.3d 1217, 1227 (11th Cir. 2001). If “sub-
        stantially the same” meant “identical,” the statute would say
        “same.” We must give effect to the actual words Congress used.
               All three blog articles significantly overlap with the allega-
        tions in Jacobs’s complaint. They all mention JP Morgan Chase’s
        alleged fraudulent stamping scheme and question the validity of
        the endorsements on the Washington Mutual loans. The blogs
        even disclose details about a specific Washington Mutual employee
        named in the complaint, Cynthia Riley. The blogs discuss how
        Cynthia Riley left her employment with Washington Mutual be-
        fore a note was stamped, include a photograph of one of her
        stamps, and allege that the note endorsement was fraudulent. One
        blog article questions whether the notes endorsed by Cynthia Riley
        that JP Morgan Chase had produced in foreclosure cases were “fake
        or a possible act of fraud.” Another blog article implies that JP
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        22-10963               Opinion of the Court                        13

        Morgan Chase had something to do with this fraud by discussing
        how in 2012, during other litigation, JP Morgan Chase “miracu-
        lously found [a] missing endorsed note” containing Cynthia Riley’s
        stamp even though Riley had left Washington Mutual’s employ-
        ment before the mortgage closed and would not have had a note
        to stamp. The third blog article goes further—explicitly alleging
        that JP Morgan Chase was “stamping the[] Washington Mutual
        notes with the Cynthia Riley endorsement stamp” as part of its
        foreclosure efforts.
               The content of these blog articles significantly overlaps with
        Jacobs’s allegations. Like the blog articles, Jacobs’s amended com-
        plaint alleges that JP Morgan Chase foreclosed on mortgages “se-
        cured by forged and falsely stamped notes, while concealing the
        fact that the endorsements were affixed by JPMC years after WaMu
        ceased to exist using rubber stamps of Cynthia Riley’s signature[]
        and others[’] [signatures].”
                 To be sure, these articles do not specifically allege False
        Claims Act fraud. They are mostly about committing fraud on the
        court in foreclosure proceedings. But Jacobs’s key allegations of
        fraudulent activity have significant overlap with the three blog ar-
        ticles. It is important in the Rule 9(b) context for an FCA complaint
        to contain details about the submission of a false claim to the gov-
        ernment. See Corsello v. Lincare, Inc., 428 F.3d 1008, 1013 (11th Cir.
        2005). But under the “substantially the same” standard, those de-
        tails don’t matter for purposes of the public disclosure bar. Our case
        law requires significant overlap, not that a mirror image of the
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        14                      Opinion of the Court                   22-10963

        complaint’s allegations had been publicly disclosed. Therefore, the
        information disclosed in the blog articles is substantially the same
        as the allegations in Jacobs’s lawsuit.
                                           C.

                Third, because the complaint’s allegations are substantially
        the same as the ones in the blog articles, the FCA’s public disclosure
        bar prohibits Jacobs’s lawsuit unless he can establish that he is an
        “original source” of that information. 31 U.S.C. § 3730(e)(4)(A); see
        also Osheroff, 776 F.3d at 812 (quoting Cooper, 19 F.3d at 565 n.4). As
        relevant here, an “original source” is an individual “who has
        knowledge that is independent of and materially adds to the pub-
        licly disclosed allegations or transactions” and provided that infor-
        mation to the government before filing the suit. 31 U.S.C.
        § 3730(e)(4)(B).
               Jacobs posits that he falls within the original source excep-
        tion because his law practice gave him independent knowledge of
        JP Morgan Chase’s fraud. Thus, the argument goes, the amended
        complaint materially adds to the public disclosures from the blog
        articles. We disagree.
               If the public disclosures are “already sufficient to give rise to
        an inference” of fraud, cumulative allegations do “not materially
        add to the public disclosures.” Osheroff, 776 F.3d at 815 (citing
        United States ex rel. Kraxberger v. Kan. City Power &amp; Light Co., 756 F.3d
        1075, 1079 (8th Cir. 2014)). “[B]ackground information [and details]
        that help[] one understand or contextualize a public disclosure is
        insufficient to grant original source status” under the FCA. Id. The
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        22-10963              Opinion of the Court                       15

        original source doctrine “increase[s] private citizen involvement in
        exposing fraud” but “prevent[s] opportunistic suits by private per-
        sons who heard of fraud but played no part in exposing it.” Id. at
        815–16 (quoting Cooper, 19 F.3d at 565).
               No doubt, Jacobs’s experience from his law practice has shed
        light on how JP Morgan Chase defends certain foreclosure actions
        and allowed him to call into question the endorsements of some
        specific Washington Mutual loans. But his litigation against JP Mor-
        gan Chase has not provided him with independent information to
        corroborate his stamping scheme theory or his allegation that JP
        Morgan Chase submitted false claims to the government. Nor does
        the amended complaint materially add to the core claims in the
        blog articles—that JP Morgan Chase fraudulently endorsed Wash-
        ington Mutual promissory notes to strengthen its legal position in
        foreclosure proceedings.
               Jacobs also argues that he alleges a broader fraud than the
        blog articles because the amended complaint questions the validity
        of every Washington Mutual loan acquired by JP Morgan Chase
        and alleges a cover-up scheme. And he observes that the blog arti-
        cles do not mention Fannie, Freddie, or false reimbursement claims
        by JP Morgan Chase. In this way, Jacobs argues that he is an origi-
        nal source of the FCA claims because in another lawsuit he deposed
        a JP Morgan Chase representative who said that JP Morgan Chase
        sold the loan to Fannie Mae. Again, we disagree.
              The additional allegations about the government-services
        enterprises and JP Morgan Chase’s potential FCA violations as well
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        16                      Opinion of the Court                  22-10963

        as the cover-up scheme merely supplement and contextualize the
        core fraud hypothesis in the blog articles. As discussed above, the
        blog articles don’t give just general information. They discuss de-
        tails and explicitly allege fraud. The blog articles are “already suffi-
        cient to give rise to an inference” of fraud, so the additional infor-
        mation Jacobs claims to have provided does “not materially add to
        the public disclosures.” Id. at 815 (citing Kraxberger, 756 F.3d at
        1079). The publicly revealed information about the so-called
        stamping scheme gives rise to the inference of FCA fraud because
        we can infer from the blog articles’ details that there was general
        fraud, which led to false submissions to the government—defeat-
        ing Jacobs’s position that he is an original source of the infor-
        mation. See id. (citing Kraxberger, 756 F.3d at 1079); see also id. at
        808, 815 (holding that pre-suit news media allowed an inference
        that the defendants violated other statutes like the Anti-Kickback
        Statute and the Civil Monetary Penalties Law, which was sufficient
        to make Osheroff not an original source for his implied certification
        theory fraud claim allegations).
                                         ***
                The blog articles publicly disclosed in the news media sub-
        stantially the same allegations as those in Jacobs’s lawsuit before he
        filed it, and he is not an original source of the information. There-
        fore, the FCA’s public disclosure provision bars this lawsuit.
                                          IV.

               We AFFIRM the district court.
